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                   EXHIBIT I
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December 11, 2020

John J. Duffy
Swanson Martin & Bell, LLP
330 North Wabash Avenue
Suite 3300
Chicago, IL 60611

Re: Case No. 3:18-cv-01586-JSC

Rebuttal Report

Dear Mr. Duffy,

Please find below my rebuttal opinions in this matter following the review of Dr. Kasbekar’s
December 4, 2020 report.

                                SECTION I
                 SUMMARY OF BACKGROUND AND QUALIFICATIONS

I have an engineering background and expertise in cryogenic systems and pressure vessel design.
I am an Associate Professor in the Mechanical Engineering Department of the University of
Wisconsin – Madison and the Chair of the Mechanical Engineering curriculum committee. I am
a member of the American Society of Mechanical Engineering (ASME) and the Cryogenic Society
of America (CSA). I serve on the boards of the Cryogenic Engineering Conference and the
International Cryocooler Conference.

My background, qualifications, Curriculum Vitae, and list of publications are provided in full in
my previous report of November 20, 2020, which I adopt by reference here. See also my report
of December 4, 2020.


                                     SECTION II
                            SUMMARY OF REBUTTAL OPINIONS

I offer all of my opinions in this report to a reasonable degree of engineering and scientific certainty.
My opinions in this rebuttal report are based on my education, training, and experience in cryogenics
and cryogenic product design, the manufacture, function and use of such products, my review and
study of the information provided regarding the circumstances of this incident, my review and study
of materials on the subject MVE 808AF-GB freezer, which referenced in my prior reports. New


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materials that I am relying on for the opinions herein include the rebuttal report Dr. Kasbekar of
December 4, 2020. See Appendix A. My hourly rate is $350.00 for work on this case.

         A.

I




    1)




    2)




    3)




                                                2
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   4)




The analysis I presented in my rebuttal report of December 4, 2020 is the correct way to do the
thermal contraction analysis for cryogenic materials. I used a numerical technique that can account
for a nonuniform temperature profile and for the variation of thermal expansion with temperature.
An equivalent but analytical technique is described in the Barron’s text Cryogenic Heat Transfer
[Barron, R. and Nellis G., (2017) Cryogenic Heat Transfer, CRC Press, pp. 105-113]

Numerical thermal conduction analysis with temperature dependent properties is described in the
text Heat Transfer by Nellis and Klein. [Nellis, G. and Klein, S. (2009) Heat Transfer, Cambridge
University Press, pp 55-60]

These errors demonstrate clearly that Dr. Kasbekar has little or no knowledge relevant to cryogenic
engineering and the associated thermal analysis techniques. The thermal contraction input to his
stress analysis was nearly five times the actual value because he calculated the thermal contraction
using what he evens described in his testimony as a sophomore level approach. [Kasbekar
11/20/2020 deposition pg 76 line 15 through pg 78 line 10, pg 107 line 5]. An analysis with a load
that is five times higher will give results that are completely different from an analysis with the
correct input conditions. The results of Dr. Kasbekar’s FEA analysis are unreliable because the
thermal contraction input to the model is obviously erroneous. Unfortunately, Dr. Kasbekar used
the results of the FEA to support his conclusion that a fatigue crack occurred in the fill line fitting
to the tank wall weld before the implosion event. He cannot use his results to support this
conclusion because his analysis is fundamentally flawed given the load input is too large by a
factor of five.




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Figure 1. Thermal Conductivity of 304 Stainless Steel
https://trc.nist.gov/cryogenics/materials/304Stainless/304Stainless_rev.htm




Figure 2. Total Linear Expansion of 304 Stainless Steel
https://trc.nist.gov/cryogenics/materials/304Stainless/304Stainless_rev.htm

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       B.




Figure 3.




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C.




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Figure 5.




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Figure 6.




Figure 7.


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Figure 8.




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Figure 9.




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Figure 10.




Figure 11.




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I reserve the right to change and supplement my opinions and conclusions following my
examination of any additional case materials presented, including deposition transcripts.

Respectfully Submitted,




Franklin K. Miller




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Appendix A: Materials Relied Upon

1.   Rebuttal report from Dr. Kasbekar on December 4, 2020
2.   Chart drawing B-10643376-A
3.   Exemplar tank (SN# CAB2119340043) and video and photographs of same




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Appendix B: Flow Meter Calibration

 Measured Standard
     -0.12         0
      1.85      2.01
      3.96      4.06
      5.42      5.43
      6.75      6.76
      8.12      8.17
       9.3      9.32
      9.99      9.98
              12




                                                                y = 0.9854x + 0.1399
                                                                    R² = 0.99991
              10




               8




               6




               4




               2




               0
   -2              0        2            4            6               8                10   12



Graph of measured flowrate vs. Calibrated standard flowrate. The calibration curve is shown in
the graph.




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Appendix C: Calculations
 V_vac=100.3[l]

 t_paper_min=0.0026[in]*convert(in,m)                     " Minimum Thickness of fiberglass paper in blanket layers"
 t_paper_max=0.0051[in]*convert(in,m)                     " Maximum Thickness of fiberglass paper in blanket layers"
 t_foil=0.0007[in]*convert(in,m)                          " Thickness of Aluminum foil in blanket layers"

 d=28.3125[in]*convert(in,m)                          "Diameter of tank"
 L=30[in]*convert(in,m)                               "Length of Blanket"
 A_layer=pi*d*L+pi*d^2/4                              "Surface area of a blanket layer"
 V_min=A_layer*30*(t_paper_min+t_foil)*convert(m^3,l) "Volume of blanket materials"
 V_max=A_layer*30*(t_paper_max+t_foil)*convert(m^3,l)

 d_line=0.375[in]*convert(in,m)                           "Diameter of annular lines"
 L_line=26[in]*convert(in,m)                              "Length of annular lines"
 V_lines=pi*d_line^2*L_line*2*convert(m^3,l)              "Volume of annular lines"

 V_vac_net=V_vac-V_min-V_lines                            "Volume of vacuum insulation space"



 SOLUTION
 Unit Settings: SI C kPa kJ mass deg
 Alayer = 2.128 [m2]                                          d = 0.7191 [m]
 dline = 0.009525 [m]                                         L = 0.762 [m]
 Lline = 0.6604 [m]                                           tfoil = 0.00001778 [m]
 tpaper,max = 0.0001295 [m]                                   tpaper,min = 0.00006604 [m]
 Vlines = 0.3765 [l]                                          Vmax = 9.404 [l]
 Vmin = 5.35 [l]                                              Vvac = 100.3 [l]
 Vvac,net = 94.57 [l]

 No unit problems were detected.

 KEY VARIABLES
 Vvac,net = 94.57 [l]




                               Corrected Volumetric Flowrate vs. Time
  6



  5



  4



  3



  2



  1



  0
      0        500      1000       1500   2000    2500     3000     3500      4000          4500   5000




                                                             19
